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                                                         September 18, 2021
   The Honorable Ann M. Donnelly
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   RE:    United States v. Robert Kelly
          Criminal Docket No.: 19-286 (AMD)

   Dear Judge Donnelly:

           The defense submits this letter motion seeking an amendment of the proposed jury
   instructions. The defense recognizes that the Court directed the parties to submit joint
   proposed instructions. However, after a review of the testimony elicited at trial, the defense
   submits that the proposed amendments are required.

   Request No: 16/ Racketeering Act One
          With respect to the Illinois statute for bribery, the proposed instruction currently
   reads:
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However, the pattern jury instructions given by Illinois Courts provide:




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        Therefore, according to the Illinois pattern jury instructions, the person charged pursuant
to the statute has to either promise or tender property or promise or tender property to another
person with the intent to cause the other person to influence the performance of official act.

        This is further illustrated by additional guidance provided by the Illinois pattern jury
instructions. For example,




At the instant trial, the Government called Demetrius Smith regarding the bribery charge. On
direct, Mr. Smith testified that he alone offered money to another person; that Mr. Kelly was not
present when he discussed anything about money; and that he received the money from another
person and not Mr. Kelly. Tr. 714-719. On cross-examination, Mr. Smith was asked: “Q: Okay.
Now, Robert never had anything to do with you bribing anyone to get a marriage license, am I
correct? A. No, he didn’t.” Tr. 750-51.

       The count related to bribery should be dismissed. If the Court, however, decides to submit
the charge to the jury, it is clear that the Government’s theory is that the bribery was conducted
through an intermediary.




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As illustrated by the Illinois pattern jury instruction, there are only 2 propositions. The proposed
instruction would improperly provide 3 propositions. However, as demonstrated above in any
scenario, the defendant would have to tender property directly to the person bribed (21.12) or
tender property to the person a third person with the intent to cause the third person to influence
the official act.

The second part of the proposed instruction in this case currently reads:




However, that is not a proper reading of the statute nor would it appear to be an instruction that
would be given pursuant to the pattern instruction. The defense submits that the jury instructions
in the instant case regarding the Illinois statute should be guided by the what the Illinois State
legislature intended and what is properly given by Illinois state courts. The defense respectfully
requests that the instruction be amended so that it reads that the defendant either promised or
tendered property to the official actor or promised or tendered property to a person so that he or
she could influence the official actor.

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California Health and Safety Code § 120290

        With respect to California Health and Safety Code § 120290, the proposed instruction
currently reads:




However, the text of the statute actually provides:




                                                 5
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The statute also provides:




      Initially, the defense respectfully requests that the Court require the Government to indicate
whether the claim is that Mr. Kelly intentionally exposed others or that he willfully exposed others.

        Further, the defense respectfully requests that the Court provide an instruction that the
defendant does not act with the intent required pursuant to the statute if the defendant takes, or
attempts to take, practical means to prevent transmission. The defense also respectfully requests
that the Court provide an instruction that failure to take practical means to prevent transmission
alone is insufficient to prove the intent to transmit a communicable disease.




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California Penal Law Sections 261.5(a) and 261.5(b)

The statute provides: Statute:
                  261.5 (a): Unlawful sexual intercourse is an act of sexual
                  intercourse accomplished with a person who is not the spouse
                  of the perpetrator, if the person is a minor. For the purposes of
                  this section, a “minor” is a person under the age of 18 years
                  and an “adult” is a person who is at least 18 years of age.

                     (b) Any person who engages in an act of unlawful sexual
                     intercourse with a minor who is not more than three years
                     older or three years younger than the perpetrator, is guilty of
                     a misdemeanor.

The defense respectfully requests that the Court provide the following instruction:


Mistake of Fact: Reasonable mistake by the defendant as to the age of the minor is a defense. This
defense applies if the defendant held a reasonable belief that the minor was at least eighteen years
old at the time of the sexual intercourse. 1


Authority:      People v. Hernandez, 61 Cal.2d 529, 534, 39 Cal.Rptr. 361, 393 P.2d 673 (Sup. Ct.
Cal. 1964) (“There can be no dispute that a criminal intent exists when the perpetrator proceeds
with utter disregard of, or in the lack of grounds for, a belief that the female has reached the age
of consent. But if he participates in a mutual act of sexual intercourse, believing his partner to be
beyond the age of consent, with reasonable grounds for such belief, where is his criminal intent?
In such circumstances he has not consciously taken any risk. Instead he has subjectively eliminated
the risk by satisfying himself on reasonable evidence that the crime cannot be committed. If it
occurs that he has been misled, we cannot realistically conclude that for such reason alone the
intent with which he undertook the act suddenly becomes more heinous”). 2 The Court in
Hernandez, reversed a conviction for statutory rape wherein the complainant was 17 years and 9
months and the accused had a good faith belief that the complainant was over the age of consent.




1
 Judge Sterling Johnson, Jr. provided a jury instruction on a good faith defense in United States v. Mensah, 19 Cr.
60 (SJ).
2
 Hernandez was superseded by statute 261.5 (d) only regarding sex with a minor under the age of 14 and that is not
applicable to the instant case.

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Verdict Sheet

        The defense respectfully requests that the Court amend the verdict sheet so that the choices
read:
Not Guilty_________________                                         Guilty________________              and

Not Proven_________________                                         Proven_______________.

The rationale for such an amendment is obvious. The defendant is presumed innocent. To require
the jury to surrender that presumption to first consider guilt in order to go back to a consideration
of whether the defendant is not guilty is confusing, may shift the burden of proof, and denies the
defendant the true presumption of innocence. 3




                                                            Respectfully submitted,

                                                                    /s/

                                                            Calvin H. Scholar


CHS/jb

cc:     All Counsel, by E-MAIL




3
 Judge Sidney Stein made such an amendment in United States v. Bryan Duncan, et al., 18 Cr. 289 (SHS) Trial
Transcript dated May 20, 2019 at p. 1601-02.

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